Case 1:19-cr-20450-RNS Document 113 Entered on FLSD Docket 06/30/2022 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,

     Plaintiff                                      Case No. 19-20450-CR-Scola
         v.

  ALEX NAIN SAAB MORAN,

     Defendant.


              JOINT MOTION TO VACATE AND CONTINUE BRIEFING DATES

        Defendant Alex Nain Saab Moran and the United States of America respectfully move for

 an order continuing the dates of the current briefing schedule for Mr. Saab’s motion relating to

 diplomatic immunity. Specifically, the Parties request that the current motion briefing schedule be

 vacated and continued, with a revised schedule to be set following a status conference with the

 Court (currently scheduled for July 15).

        By way of background, on June 10, 2022, following a status conference with the Parties,

 the Court set the following schedule:

        7/6/2022:                        Defendant’s motion relating to diplomatic immunity due
        7/15/2022 (9:15 a.m.):           Status conference for house keeping issues
        8/8/2022:                        Government’s response due
        8/22/2022:                       Defendant’s reply in further support due
        8/29/2022 (9:00 a.m.):           Evidentiary Hearing set to begin

        Since that time, the Parties have met-and-conferred regarding pre-hearing issues including

 scheduling, witness travel, and, most salient for purposes of this motion, pre-hearing disclosure of

 documents by the United States to satisfy Defendant’s Rule 16 and Brady requests related to Mr.

 Saab’s diplomatic immunity motion.
Case 1:19-cr-20450-RNS Document 113 Entered on FLSD Docket 06/30/2022 Page 2 of 4




           Following the hearing, defense counsel and the government met-and-conferred about the

 status of the government’s efforts to provide documents in response to Mr. Schuster’s prior

 discovery and Brady requests on November 18, 2021, May 23, 2022, and May 25, 2022. 1 Pursuant

 to the government’s suggestion, defense counsel provided the government a supplemental letter

 requesting disclosure and production of items it considers material to preparation of Mr. Saab’s

 diplomatic immunity defense under Fed. R. Crim. P. 16(a)(1)(E) and which Mr. Saab contends the

 government are required to disclose under Brady v. Maryland, 373 U.S. 83 (1953) and its progeny,

 including United States v. Augurs, 427 U.S. 97 (1976) and Giglio v. United States, 405 U.S. 150

 (1972).

           Although the Parties do not necessarily agree on the scope of the government’s Brady and

 Rule 16 obligations, the government has agreed to search its own records and to request the

 Department of State, Department of Defense and the Central Intelligence Agency to search their

 records for documents responsive to many of the Defendant’s requests.

           In addition, the government is seeking an MLAT from Cabo Verde regarding various

 requests made by defense counsel, including requests related to allegations made by Mr. Saab of

 torture, theft, and abuse by Cabo Verdean officials, with some of the accused potentially testifying

 at the evidentiary hearing.

           At this time, the government cannot provide an estimate as to the time it will need to

 complete its document review and production, but it has represented to defense counsel that it will

 not be completed before July 6, 2022, when Defendant’s motion is currently scheduled to be filed,




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  It should be noted that discussions related to Mr. Saab’s discovery and Brady requests began
 between the government and counsel for Mr. Saab prior to the above referenced meet and confer.
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Case 1:19-cr-20450-RNS Document 113 Entered on FLSD Docket 06/30/2022 Page 3 of 4




 and may not be completed by the currently scheduled evidentiary hearing on August 29, 2022 if a

 need to deal with issues related to classified materials arises.

        WHEREFORE, in light of the above, the Parties respectfully request that the Court issue an

 order vacating and continuing the current briefing schedule. 2 At the status conference scheduled for

 July 15, the Parties will be prepared to discuss with the Court: (a) the status of document search,

 review and production along with any updates on the issues raised herein; (b) the potential timing

 and procedures for production, including rolling productions and the handling of potentially

 classified material; and (c) a revised motion schedule including with respect to both the written

 submissions and, if necessary, the evidentiary hearing.

 Date: June 30, 2022                                    Respectfully submitted,

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  It may be premature to address the August 29 hearing date at this time, and thus the Parties are
 not yet seeking adjournment.
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Case 1:19-cr-20450-RNS Document 113 Entered on FLSD Docket 06/30/2022 Page 4 of 4




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 30, 2022, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to all

 counsel of record.

                                                             /s/ Lindy K. Keown
                                                             Lindy K. Keown




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